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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF LOUISIANA




HERMON HARRIS, JR., et. al.,


and                            Plaintiffs,


UNITED STATES OF AMERICA,

                               Plaintiff-Intervenor,

v.                                                     Civil Action No. 13,212

                                                       Section A

ST. JOHN THE BAPTIST SCHOOL BOARD,                     Consolidated with
et. al.,
                                                       Civil Action No.
                                                       90-cv-01669
                               Defendants.             Section A


CONSOLIDATED WITH:                                     HON. JAY C. ZAINEY

KATHY R. DUHON, et. al.,

                               Plaintiffs,
v.

ANN T. TATJE, et. al.,
                               Defendants.




                     EXPERT WITNESS REBUTTAL REPORT OF
                             Michael C. Hefner, Esq.
                                 July 19, 2024

                           ON BEHALF OF DEFENDANT
                  ST. JOHN THE BAPTIST PARISH SCHOOL BOARD



                                    EXHIBIT 1
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        EXPERT WITNESS REBUTTAL REPORT OF MICHAEL C HEFNER


                                         I.       INTRODUCTION

    This report has been prepared at the request of the attorneys representing the St. John the

Baptist Parish School Board, the named defendants in the case of Hermon Harris, Jr., et al. and

the United States, v St. John the Baptist Parish School Board, Civil Action No. 90-cv-01669

Section A.

     Geographic Planning & Demographic Services, LLC was retained by the St. John the Baptist

Parish School Board (hereinto referred to as “Board) to 1) review and opine on the expert

witness report issued by Mr. William S. Cooper dated June 9, 2024; 2) analyze the St. John the

Baptist School District student demographics by residency and enrollments, and 3) develop one

or more practicable illustrative attendance zone plans that could be used if Fifth Ward

Elementary was to be closed. 1 The rate of compensation is found in Exhibit 1 in the Appendix.

    My qualifications as the expert witness for this case and vitae are found in Appendix Exhibits

1 and 2 in accordance with 28 U.S.C. §1746, 26(a)(2)(B), the Fed. R. Civ. Proc. and Rules 702

and 703, the Fed R. of Ev. With regard to school desegregation cases in particular, I have

provided expert witness services in approximately fifteen (15) Louisiana school desegregation

cases for both plaintiffs and defendants. The normal scope of my expertise in those cases are the

Green factors of student assignment and transportation. In one desegregation case, the Court has

accepted my expertise in all Green factors. 2




1
 Expert Report of William Cooper, June 9, 2024, (Document 220-5 filed 06.12.24).
2
 Taylor, et. al., v Ouachita Parish, et. al., C.A. 3:66-cv-12171-RGJ-JDK. The District was granted Unitary status
after the Court reviewed and accepted the report.

                                                        Rebuttal Report of Michael Hefner, July 2024                1
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                                           A. Methodology

   1. Student Assignment Plan

   The current school attendance zone boundaries were obtained from the South-Central

Planning and Development District in electronic form. The shapefiles were then imported into

Geographic Information System software and corrections made based on District information.

   Students enrolled in the St. John the Baptist Parish school system as of October 2022 were

obtained from the school district as a Microsoft Excel file. The file contained the demographic

information of each student including name, 911 physical address, race, gender, grade, and

school attending. Each of the student addresses were geographically located on the GIS

electronic map.

   A set of detailed student census geographical blocks was then created that allowed various

physical features such as roads, waterways, railroads, power lines, and pipelines to be used as a

potential boundary. The existing attendance zone boundaries were also included. This allowed

for the re-creation of the current student attendance zones as well as other features that could be

used as new boundaries during the analysis and modeling phase of the report.

   Each of the students residing within their respective student census block were aggregated by

total count, grade level, grade span, and race. The student census blocks were then aggregated to

match each of the student attendance zones for the elementary, middle, and high school levels.

   For students who reside outside the Parish, attend the STEM and Ory magnet programs, or

attending a school outside their home zone, those students were coded to the school of




                                                                                                      2
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attendance. 3 Their counts were included in the adjusted total counts and demographics for the

respective school.

    The result are demographic profiles of each of the current school attendance zones based on

the students residing within their respective zone and adjusted as described above. This gives the

Court an accurate demographic profile based on the students who reside in each zone if all

students within that zone attended the respective school. This demographic profile is consistent

with the demographic methodology relied upon by courts in other school desegregation cases

since the 1970’s. From there, transfers such as Majority-to-Minority, can enhance the racial

diversity of the schools and those changes can be seen in the actual enrollments of each school.

    Mr. Cooper, in his report, utilized school enrollments as well as the student addresses he

geocoded. When combining the total enrollment of one school with another school, simply

adding up the enrollments is appropriate. However, when discussing splitting the attendance

zones, as with the options presented to the Board and the two illustrative plans presented later in

this report, the most accurate metric for student demographics is the use of the residential student

counts.

    Because both enrollments and residential student counts were used in Mr. Cooper’s report,

both metrics will be shown in this rebuttal report to maintain consistency with the baseline data

being used.

    2. Technical Specifications

    GIS Software:                  Maptitude for Redistricting ver. 2023, Caliper Corporation.
                                   ArcGIS Pro ver. 3.1.2, ESRI, Inc.

    Student Data:                  St. John the Baptist Parish October 2022 student database.


3
 An example would be employee privilege that allows for a student to attend another school nearer to the
employee’s place of work. Another example could be a student participating in the Majority-to-Minority transfer
program.

                                                                                                                  3
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      Base Maps:                    U.S. Census Bureau TIGER 2020 Line File, Enhanced Caliper
                                    Street file, Current zone shapefiles provided by South Central
                                    Planning and Development District.
      Definitions:

           White:                   Caucasian Populations

           Black:                   African American or Black population.

           Other:                   Races other than White or Black

           Deviations:              The difference from the optimum ratio expressed as a percentage.
                                    The courts typically use either a +/-15% or +/-20% deviation when
                                    reviewing the racial ratios.


             II.      CURRENT ST. JOHN THE BAPTIST PARISH SCHOOL ZONE
                                       DEMOGRAPHICS

                                        A. Current School Feeder Zones

           Currently the St. John the Baptist Parish School Board operates ten (10) traditional

schools throughout the district and a PS-PK program at the Central Office. 4 They are organized

into two (2) high school feeder zones and seven (7) elementary/middle school zones. Altogether,

they serve 4,927 students in SY2022 and 5,130 students in SY2023. 5

           The majority of elementary schools serve grades PK-8. The exceptions are Fifth Ward

Elementary serving K-4, W. St. John Elementary serving grades PK-7, and John L. Ory

Communications Magnet serving K-8. East St. John High School serves the traditional grades of

9-12 and West St. John High School serves grades 8-12. The East Bank schools feed into East St.

John High School and the West Bank schools feed into West St. John High School. The

Mississippi River separates the two high school feeder zones.




4
    The school enrollment counts includes the Central Office students. Residential student counts are for PK-12.
5
    October 2022 and October 2023 Student data as provided by the Louisiana Department of Education, MFP reports.

                                                                                                                4
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   Map 1 illustrates the Elementary/Middle School Attendance Zones. These are the attendance

zones that pertain to the suggested Fifth Ward closure. The high school zones are not affected.

   MAP 1: Current Elementary/Middle School Attendance Zones




   The school enrollment counts for SY2022 are shown in Table 1.




                                                                                                  5
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    TABLE 1: SY2022 Enrollment Counts 6

                                                   St. John the Baptist Public School System
                                                   SY2022-2023 School Enrollments by Race
                           School                       Grades      Total      White % White       Black   % Black   Other     % Other
    East St. John High School                          9-12            1252        117      9.3%       913   72.9%      222       17.7%
    LaPlace Elementary School                          PK-8             702         61      8.7%       518   73.8%      123       17.5%
    East St. John Preparatory Academy                  5-8              358         19      5.3%       283   79.1%       56       15.6%
    West St. John High School                          8-12             195          0      0.0%       193   99.0%         2       1.0%
    West St. John Elementary School                    PK-7             245          1      0.4%       242   98.8%         2       0.8%
    Fifth Ward Elementary School                       K-4              318         14      4.4%       244   76.7%       60       18.9%
    Lake Pontchartrain Elementary School               PK-8             703         19      2.7%       498   70.8%      186       26.5%
    John L. Ory Communications Magnet Elementary       K-8              365        149     40.8%       168   46.0%       48       13.2%
    Garyville/Mt. Airy Math & Science Magnet Schl.     PK-8             321         14      4.4%       253   78.8%       54       16.8%
    Emily C. Watkins Elementary                        PK-8             433         70     16.2%       238   55.0%      125       28.9%
                           Totals                                     4,892       464       9.5%     3,550   72.6%      880       18.0%
    Notes: Enrollment Counts from Louisiana Department of Education SY2022-23 MFP Counts
    Does not include Central Office Students



    The enrollment counts for SY2023 are shown in Table 2.

    TABLE 2: SY2023 Enrollment Counts 7

                                                   St. John the Baptist Public School System
                                                   SY2023-2024 School Enrollments by Race
                           School                       Grades      Total      White % White       Black   % Black   Other     % Other
    East St. John High School                          9-12          1,311         114      8.7%       945   72.1%      252       19.2%
    LaPlace Elementary School                          PK-8             723         58      8.0%       529   73.2%      136       18.8%
    East St. John Preparatory Academy                  5-8              342         15      4.4%       274   80.1%       53       15.5%
    West St. John High School                          8-12             188          0      0.0%       182   96.8%         6       3.2%
    West St. John Elementary School                    PK-7             206          0      0.0%       205   99.5%         1       0.5%
    Fifth Ward Elementary School                       K-4              313         16      5.1%       238   76.0%       59       18.8%
    Lake Pontchartrain Elementary School               PK-8             770         18      2.3%       543   70.5%      209       27.1%
    John L. Ory Communications Magnet Elementary       K-8              413        139     33.7%       223   54.0%       51       12.3%
    Garyville/Mt. Airy Math & Science Magnet Schl.     PK-8             325         18      5.5%       255   78.5%       52       16.0%
    Emily C. Watkins Elementary                        PK-8             498         82     16.5%       263   52.8%      153       30.7%
                           Totals                                     5,089       460       9.0%     3,657   71.9%      972       19.1%
    Notes: Enrollment Counts from Louisiana Department of Education SY2023-24 MFP Counts
    Does not include Central Office Students



    Between the two school years, the District increased their enrollment by 197 students. Of that

increase, 107 students were Black, and 92 students were Other ethnicities. White students

dropped by four (4) students.




6
  SY2022 Official October 1 MFP Enrollment Counts, Louisiana Department of Education. Central Office students
excluded.
7
  SY2023 Official October 1 MFP Enrollment Counts, Louisiana Department of Education. Central Office students
excluded.


                                                                                                                                 6
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    The District had a Black student percentage of 72.6% in SY2022 and 71.9% in SY2023. The

White student count decreased from 9.5% in SY2022 to 9.0% in SY2023. Other ethnicities

increased from 18.0% to 19.1%.

    As discussed earlier, Mr. Cooper’s report refers to some plan options I drafted for the Board

to review and consider as well as some staff-generated options. The student counts in my plans

were based on residential student counts since the current attendance zones were being split

between multiple schools. It would be appropriate at this point to inform the Court of those

residential demographics for the current facilities for SY2022. 8

    TABLE 3: Current Residential Student Counts 9

                                                        St. John the Baptist Public School System
                                                  SY2022-2023 Current Student Residential Demographics

                          School                               Grades        Total        White % White            Black   % Black   Other   % Other
    East St. John High School                                 9-12             1325          121   9.1%               1012   76.4%      192    14.5%
    LaPlace Elementary School                                 PK-8               683           55  8.1%                519   76.0%      109    16.0%
    East St. John Preparatory Academy                         5-8                225           15  6.7%                179   79.6%       31    13.8%
    West St. John Elementary School                           PK-7               254            1  0.4%                253   99.6%         0    0.0%
    West St. John High School                                 8-12               479           16  0.0%                432   90.2%       31     6.5%
    Fifth Ward Elementary School                              K-4                146           11  7.5%                114   78.1%       21    14.4%
    Lake Pontchartrain Elementary School                      PK-8               632           14  2.2%                462   73.1%      156    24.7%
    John L. Ory Communications Magnet Elementary              K-8                362         155  42.8%                183   50.6%       24     6.6%
    Garyville/Mt. Airy Math & Science Magnet Schl.            PK-8               323           18  5.6%                273   84.5%       32     9.9%
    Emily C. Watkins Elementary                               PK-8               421           78 18.5%                248   58.9%       95    22.6%
                          Totals                                              3,525          363  10.3%              2,663   75.5%      880    25.0%
    October 1, 2022 Student Database provided by St. John PSB. Geocoding by GPDS, LLC. Adjusted for transfers and magnet program.



    The ethnicities of the students were based on the code assigned to the student by the school

district and may vary from the LDoE MFP counts. 10 Since the SY2023 student database was not

geocoded, those residential numbers are unavailable now.



8
  Expert Report of William Cooper, June 9, 2024, FN9, pg. 9 (Document 220-5 filed 06.12.24, pg. 10 of 122). In Mr.
Cooper’s report he references that he was not able to geocode eleven (11) of the Fifth Ward students. He also
appears to have not adjusted the twenty-three (23) geocoded Fifth Ward students to assign them to the school they
are attending outside the Fifth Ward attendance zone. Given the small total enrollment of the District, those
exclusions make a difference in the school demographic profiles.
9
  SY2022 October Student Database provided by the St. John the Baptist Parish School District. Student geocoding
by GPDS, LLC.
10
   The Central Office students included in the MFP counts were geocoded to their residential schools.

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                                 B. District and School Demographic Profiles

   1. Student Assignment Based on Residential Demographics

   This would be an appropriate time to provide an analysis of the current District demographic

profile and how the schools compare against that demographic ratio with their student

assignments based on student residency. As discussed earlier, calculating the base racial profile

using the student’s residency and ethnicity code provides the most accurate results since it

reflects the demographics of those students residing in the attendance zone. The only

adjustments made were for students who were attending the magnet programs or another school

outside of their attendance zone, such as employee privilege.

   For many years, the Black students have constituted the majority. White students are the

minority population. As a historical comparison, Table 4 shows the District-wide student

population breakdown by counts and race from SY2006-2007.

   TABLE 4: SY2006-2007 Student Demographics Parish-wide

                                             St. John the Baptist Public School System
                                             SY2006-2007 District Enrollments by Race
    District                                            Total      White     % White Black    % Black Other     % Other
    Parishiwide                                               6525      1201     18.4%   5056    77.5%      268    4.10%
    Source: LDoE SY2006-2007 October 1st MFP Counts


   The following chart provides the SY2022-2023 residential demographics with a comparison

with the Parish-wide percentages for Black and White students.




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   TABLE 5: SY2022-2023 Residential Student Demographics and Deviations by School
                                                                 St. John the Baptist Public School System
                                       SY2022-2023 Current Student Residential Demographics and Deviations from Parish-Wide Averages
                                                                                                                                                          Deviation Deviaton
                           School                                 Grades         Total       White % White            Black   % Black   Other   % Other    Black     White
    East St. John High School                                    9-12              1325         121   9.1%               1012   76.4%      192    14.5%       3.2%      -2.3%
    LaPlace Elementary School                                    PK-8                683          55  8.1%                519   76.0%      109    16.0%       2.8%      -3.3%
    East St. John Preparatory Academy                            5-8                 225          15  6.7%                179   79.6%       31    13.8%       6.4%      -4.7%
    West St. John Elementary School                              PK-7                254           1  0.4%                253   99.6%         0    0.0%      26.4%    -11.0%
    West St. John High School                                    8-12                479          16  0.0%                432   90.2%       31     6.5%      17.0%    -11.4%
    Fifth Ward Elementary School                                 K-4                 146          11  7.5%                114   78.1%       21    14.4%       4.9%      -3.9%
    Lake Pontchartrain Elementary School                         PK-8                632          14  2.2%                462   73.1%      156    24.7%      -0.1%      -9.2%
    John L. Ory Communications Magnet Elementary                 K-8                 362        155  42.8%                183   50.6%       24     6.6%     -22.6%     31.4%
    Garyville/Mt. Airy Math & Science Magnet Schl.               PK-8                323          18  5.6%                273   84.5%       32     9.9%      11.3%      -5.8%
    Emily C. Watkins Elementary                                  PK-8                421          78 18.5%                248   58.9%       95    22.6%     -14.3%       7.1%
                           Totals                                                 3,525         363  10.3%              2,663   75.5%      880    25.0%       2.3%     -1.1%
    October 1, 2022 Student Database provided by St. John PSB. Geocoding by GPDS, LLC. Adjusted for transfers and magnet program.



   When the District-wide racial comparisons were made for SY2006, Blacks constituted 77.5%

of the student body. Whites made up 18.4% of the student body. Whites continue to be the

minority students in SY2022, representing 10.3% of the total. Black students are well into the

majority with 75.5% of the totals.

   Since Whites have been in the minority since at least SY2006, it would be appropriate to

consider the deviations based on White. A side-by-side comparison with the Black deviations is

also provided in Table 5.

   When analyzing the racial deviations, certain schools have unique characteristics that must

be accounted for. The West Bank schools of W. St. John Elementary and W. St. John High

School are isolated from the rest of the district by the Mississippi River. They also have a zero

(0) White population. Therefore, those two schools would qualify as geographically isolated,

and perhaps demographically isolated as well.

   The other school is the John Ory Communications Magnet program. That school was

established to have a controlled enrollment. The ratios set were 50/50 Black to White ratio.

Therefore, the parish-wide ratios would not apply to that school.

   With those caveats, an analysis of the deviations indicates the following:



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          •     Based on the minority White students, all schools fall within a +/-15% deviation

                standard. (the West Bank schools also fall within the deviation as well.)

          •     Based on the majority Black students, all schools fall within a +/-15% deviation

                standard.

   Regardless of which racial classification is used, all of the schools fall within the more

restrictive +/-15% deviation from the parish-wide residential student averages.

   2. School Enrollment Demographics

   When the school demographic profiles are analyzed using enrollment data, the results are

much the same as with the student residential criteria. To get a perspective of how the school

enrollment demographics have been performing since SY2006-2007, the following table lists the

schools in operation at that time. The deviation from the parish-wide average for both White and

Black students are calculated.

   TABLE 6: SY2006-2007 School Enrollment Demographics and Deviations by School

                                                     St. John the Baptist Public School System
                                                     SY2006-2007 School Enrollments by Race
                                                                                                                        Deviation Deviation
                            School                   Total      White % White       Black   % Black   Other   % Other    Black     White
    East St. John High School                          1566        325  20.8%          1181   75.4%        60    3.8%       -2.1%      2.4%
    LaPlace Elementary School                          1003        322  32.1%           619   61.7%        62    6.2%      -15.8%     13.7%
    East St. John Elementary School                      785         98 12.5%           655   83.4%        32    4.1%        5.9%     -5.9%
    West St. John High School                            235          2  0.9%           233   99.1%         0    0.0%       21.6%    -17.5%
    West St. John Elementary School(K-7)                 339          1  0.3%           332   97.9%         6    1.8%       20.4%    -18.1%
    Fifth Ward Elementary School                         456         30  6.6%           421   92.3%         5    1.1%       14.8%    -11.8%
    Lake Pontchartrain Elementary School                 841         90 10.7%           692   82.3%        59    7.0%        4.8%     -7.7%
    St. John Child Development Center                      12         2 16.7%            10   83.3%         0    0.0%        5.8%     -1.7%
    John L. Ory Communications Magnet Elementary         452       221  48.9%           207   45.8%        24    5.3%      -31.7%     30.5%
    Garyville/Mt. Airy Math & Science Magnet Schl.       610         87 14.3%           505   82.8%        18    3.0%        5.3%     -4.1%
    St. John Redirection Center                            59         5  8.5%            53   89.8%         1    1.7%       12.3%     -9.9%
    Leon Godchaux Alternative Program                    167         18 10.8%           148   88.6%         1    0.6%       11.1%     -7.6%
                            Totals                     6525      1201   18.4%         5056    77.5%      268     4.1%        0.0%      0.0%
    LDoE SY2006-2007 October 1st MFP Counts



   As noted earlier, the two West Bank schools are geographically isolated and could be

considered demographically isolated given the absence of White students. John L. Ory is a




                                                                                                                                   10
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controlled enrollment magnet program. The St. John Redirection and Leon Godchaux facilities

provided services to certain cohorts of the student body.

   With those caveats, in SY2006-2007, the deviations were as follows:

          •       White Deviations: All remaining schools were within a +/-15% deviation standard.

          •       Black Deviations: All remaining schools, with the exception of LaPlace Elementary,

                  were within a +/-15% deviation.

   For a contemporary analysis, Table 7 illustrates the school demographics using SY2023-24

   enrollment data.

   TABLE 7: SY2023-2024 School Enrollment Demographics and Deviations by School
                                                                       St. John the Baptist Public School System
                                                                       SY2023-2024 School Enrollments by Race
                                                                                                                                             Black    White
                          School                             Grades        Total      White % White      Black   % Black   Other   % Other Deviation Deviation
    East St. John High School                               9-12            1,311        114   8.7%          945   72.1%      252    19.2%       0.2%    -0.3%
    LaPlace Elementary School                               PK-8              723          58  8.0%          529   73.2%      136    18.8%       1.3%    -1.0%
    East St. John Preparatory Academy                       5-8               342          15  4.4%          274   80.1%        53   15.5%       8.2%    -4.6%
    West St. John High School                               8-12              188           0  0.0%          182   96.8%         6    3.2%      24.9%    -9.0%
    West St. John Elementary School                         PK-7              206           0  0.0%          205   99.5%         1    0.5%      27.6%    -9.0%
    Fifth Ward Elementary School                            K-4               313          16  5.1%          238   76.0%        59   18.8%       4.1%    -3.9%
    Lake Pontchartrain Elementary School                    PK-8              770          18  2.3%          543   70.5%      209    27.1%      -1.4%    -6.7%
    John L. Ory Communications Magnet Elementary            K-8               413        139  33.7%          223   54.0%        51   12.3%     -17.9%    24.7%
    Garyville/Mt. Airy Math & Science Magnet Schl.          PK-8              325          18  5.5%          255   78.5%        52   16.0%       6.6%    -3.5%
    Emily C. Watkins Elementary                             PK-8              498          82 16.5%          263   52.8%      153    30.7%     -19.1%     7.5%
                          Totals                                            5,089        460   9.0%        3,657   71.9%      972    19.1%       0.0%     0.0%
    Notes: Enrollment Counts from Louisiana Department of Education SY2023-24 MFP Counts
    Does not include Central Office Students



   Applying the same caveats as noted earlier, the deviations were as follows:

          •       White Deviations: All remaining schools were within a +/-15% deviation from the

                  Parish-wide White average.

          •       Black Deviations: All remaining schools, with the exception of Emily C. Watkins

                  Elementary, were within a +/-15% deviation from the Parish-wide Black average.

   3. Conclusion

   As far back as SY2006-2007, the schools all met the more stringent +/-15% deviation

standard, whether measured by Black or White, with the only exception being LaPlace


                                                                                                                                                      11
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Elementary being 0.8% outside of that range. When the SY2023-24 enrollments are calculated,

all schools met the +/-15% deviation standard when applying either White or Black criteria, with

the single exception of Emily C. Watkins Elementary. That school was 4.1% outside of the Black

deviation. If a +/-20% deviation was applied, both LaPlace Elementary in SY2006 and Emily C.

Watkins in SY2023 would be compliant.

                         IV. ANALYSIS OF WILLIAM COOPER’S REPORT

     In Mr. Cooper’s Introduction section of his report, he stated his charges by the Plaintiffs were

to 1) Evaluate the Fifth Ward Elementary Demographics, 2) develop an illustrative attendance

zone plan that would have, to the extent possible, a desegregative impact on Fifth Ward students

and move those students away from the Denka Performance Elastomer plant (Denka), and 3) to

evaluate the impact of relocating the Fifth Ward students to LaPlace Elementary. 11

                                A. Fifth Ward Elementary Demographics

     Mr. Cooper states in his evaluation of Fifth Ward Elementary demographics that the PK-4

enrollment is 77.3% Black. As noted in the official enrollment counts from the Louisiana

Department of Education (LDoE) shown in Table 2, the grades served by Fifth Ward is K-4.

     The LDoE SY2023 enrollment demographics for Fifth Ward Elementary are 76% Black, not

77.3% Black as Mr. Cooper states in his report. 12 The White percentages correlate between his

report and the LDoE counts at 5.1%. Mr. Cooper understates the Other ethnicities by citing a

16.8% Hispanic count where the Other ethnicities account for 18.8% of the Fifth Ward student

population. 13




11
   Expert Report of William Cooper, June 9, 2024, pg. 2 (Document 220-5 filed 06.12.24, pg. 3 of 122)
12
   The Black percentages at Fifth Ward Elementary improved by 0.7% from SY2022 to SY2023.
13
   Id. Pg. 5.

                                                                                                        12
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     Some of the discrepancies could be attributed to the different timelines for the student counts.

It appears that Mr. Cooper used student enrollment counts from November 29, 2023, as opposed

to the official October 1st counts for SY2023. 14

     Since consistency of data is important, the timeframe for the data collection is important.

The data used for the Board’s plans and the public presentations were all based on October 1st

official enrollments and MFP counts for SY2022 and SY2023. This allows for a more accurate

and consistent comparison from one year to another and therefore will be used in this report.

                  C. Illustrative Attendance Zone Plan for Fifth Ward Elementary

     The second charge for Mr. Cooper by the Plaintiffs was to develop an illustrative attendance

zone plan that would have a desegregative effect for Fifth Ward students, to the extent

practicable. A review of Mr. Cooper’s report does not show that any illustrative attendance zone

plan is being proposed. In the absence of a proposed plan, Mr. Cooper’s third charge will be

analyzed.

            D. Impact of Assigning Fifth Ward Students to LaPlace Elementary School

     Mr. Cooper references Option C as his preferred method of closing Fifth Ward and

reassigning those students to LaPlace Elementary. 15 His primary reasons are two-fold:

     1) By reassigning the Fifth Ward students to LaPlace Elementary, the move would have a

        desegregative effect on Fifth Ward students.

     2) The reassignment of Fifth Ward students to LaPlace Elementary would move those

        students further away from the Denka plant site.




14
  Cooper’s Exhibit D-2.
15
  Option C was one of the scenarios the Board considered at their April 25, 2024, workshop. The data was
developed by staff and there was no request for any input from the demographer.

                                                                                                           13
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       In analyzing the desegregative effect, the numbers Mr. Cooper has in his report do not agree

with the October 2023 LDoE counts. Since the total student population is being reassigned to

one school, a simple math calculation that combines the enrollments of the sending and receiving

schools is appropriate. There is no need to use residential student data in this scenario.

       1. Impact on East St. John Preparatory Academy and LaPlace Elementary

       It should be noted at this time that Fifth Ward Elementary is a K-4 school with those students

matriculating to 5th-8th grades at East St. John Preparatory Academy. Both Fifth Ward

Elementary and St. John Preparatory Academy share the exact same attendance zone.

       Among the other schools on the East Bank with an attendance zone, all of those serve PK-

8. 16 Only Fifth Ward and St. John Prep serve K-4 and 5-8 respectively.

       Given that LaPlace Elementary is a PK-8 school, there is no discussion nor any reference to

the assignment of grades 5-8 in the Fifth Ward/E. St. John Prep attendance zone in Mr. Cooper’s

report. The absence of that discussion reasonably leads one to the conclusion that LaPlace will

take all students in grades PK-8.

       The end effect is that not one, but two schools are being closed with Mr. Cooper’s proposal.

Fifth Ward and E. St. John Preparatory Academy are both being shuttered. Table 8 applies Mr.

Cooper’s assignment of Fifth Ward/E. St. John Prep PK-8 students to LaPlace Elementary.




16
     John L. Ory Communications Magnet serves grades K-8.

                                                                                                  14
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       TABLE 8: Fifth Ward/E. St. John Prep PK-8 Student to LaPlace Elementary 17

                                                      St. John the Baptist Public School System
                              SY2023-2024 School Enrollments by Race (Cooper Plan Fifth Ward/E. St. John Prep to LaPlace)
                              School                        Grades      Total      White % White       Black      % Black   Other    % Other
       East St. John High School                           9-12           1,311        114      8.7%        945     72.1%      252     19.2%
       LaPlace Elementary School                           PK-8           1,378         89      6.5%      1041      75.5%      248     18.0%
       East St. John Preparatory Academy                   5-8                 0          0     0.0%          0      0.0%          0    0.0%
       West St. John High School                           8-12             188           0     0.0%        182     96.8%         6     3.2%
       West St. John Elementary School                     PK-7             206           0     0.0%        205     99.5%         1     0.5%
       Fifth Ward Elementary School                        K-4                 0          0     0.0%          0      0.0%          0    0.0%
       Lake Pontchartrain Elementary School                PK-8             770         18      2.3%        543     70.5%      209     27.1%
       John L. Ory Communications Magnet Elementary        K-8              413        139     33.7%        223     54.0%       51     12.3%
       Garyville/Mt. Airy Math & Science Magnet Schl.      PK-8             325         18      5.5%        255     78.5%       52     16.0%
       Emily C. Watkins Elementary                         PK-8             498         82     16.5%        263     52.8%      153     30.7%
                              Totals                                      5,089       460       9.0%     3,657      71.9%      972     19.1%
       Notes: Enrollment Counts from Louisiana Department of Education SY2023-24 MFP Counts
       Does not include Central Office Students




       The two schools effectively being closed are Fifth Ward and E. St. John Prep as noted in red.

       Table 9 shows the net effect on LaPlace Elementary if the Fifth Ward students were assigned

to LaPlace for grades PK-8.

       TABLE 9: Net Change of Fifth Ward Assignment to LaPlace for Grades PK-8

                                           St. John the Baptist Public School System
           Net SY2023-2024 Student Enrollment and Changes by Race (Cooper Plan Fifth Ward/E. St. John Prep to LaPlace)
                   School             Grades      Total     White      % White    Black   % Black      Other     % Other
       LaPlace Elementary School    PK-8           1,378          89       6.5%      1041   75.5%         248      18.0%
       Difference Current to Cooper                   655         31      -1.6%       512     2.4%         112      -0.8%


       Under this scenario, the Black student percentages in LaPlace increase. Likewise, the White

student population decreases. This assignment plan moves the District backwards in their student

desegregation efforts if the goal is to have schools mirror parish-wide racial percentages to the

extent possible.




17
     October 1, 2023, SY2023 MFP Enrollments, Louisiana Department of Education.

                                                                                                                                    15
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       There is a capacity issue with this consolidation as well. The capacity of LaPlace Elementary

under this scenario cannot accommodate the anticipated 1,378 students. It would exceed the

current capacity of 1,250 by 128 students. 18 So this scenario would be unworkable.

       In the event Mr. Cooper intended to have the Fifth Ward students attend LaPlace Elementary

for grades K-4 only, the students would have to leave LaPlace Elementary to attend grades 5-8 at

East St. John Preparatory Academy. This has the effect of splitting the students apart from their

classmates, with whom they shared five or six years together, to attend E. St. John Prep. This

separation can have a negative effect on students.

       The tables below show the effect on the school demographics if this scenario was intended

by the Plaintiffs and Mr. Cooper.

       TABLE 10: Fifth Ward K-4 Students Assigned to LaPlace Elementary

                                                      St. John the Baptist Public School System
                                    SY2023-2024 School Enrollments by Race (Cooper Plan Fifth Ward K-4 to LaPlace)
                              School                        Grades      Total      White % White       Black    % Black    Other    % Other
       East St. John High School                           9-12           1,311        114      8.7%       945     72.1%      252     19.2%
       LaPlace Elementary School                           PK-8           1,036         74      7.1%       767     74.0%       195    18.8%
       East St. John Preparatory Academy                   5-8              342         15      4.4%       274     80.1%        53    15.5%
       West St. John High School                           8-12             188           0     0.0%       182     96.8%         6     3.2%
       West St. John Elementary School                     PK-7             206           0     0.0%       205     99.5%         1     0.5%
       Fifth Ward Elementary School                        K-4                0           0     0.0%         0      0.0%          0    0.0%
       Lake Pontchartrain Elementary School                PK-8             770         18      2.3%       543     70.5%      209     27.1%
       John L. Ory Communications Magnet Elementary        K-8              413        139     33.7%       223     54.0%       51     12.3%
       Garyville/Mt. Airy Math & Science Magnet Schl.      PK-8             325         18      5.5%       255     78.5%       52     16.0%
       Emily C. Watkins Elementary                         PK-8             498         82     16.5%       263     52.8%      153     30.7%
                              Totals                                      5,089       460       9.0%     3,657     71.9%      972     19.1%
       Notes: Enrollment Counts from Louisiana Department of Education SY2023-24 MFP Counts
       Does not include Central Office Students




       Under this scenario, the enrollment for LaPlace Elementary is 1,036. This would fit within

the current capacity of LaPlace Elementary.




18
     Capacity provided by the St. John the Baptist School Board.

                                                                                                                                   16
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       From a desegregation standpoint, the reassignment of Fifth Ward students in grades K-4 only

still moves the student population at LaPlace Elementary further away from the parish-wide

percentages of black and white students. Table 11 shows the net effect of this reassignment.

       TABLE 11: Net Change of Fifth Ward Assignment to LaPlace for Grades K-4

                                          St. John the Baptist Public School System
                Net SY2023-2024 Student Enrollment and Changes by Race (Cooper Plan, Fifth Ward K-4 to LaPlace)
                   School            Grades      Total     White % White         Black   % Black     Other      % Other
       LaPlace Elementary School    PK-8          1,036           74      7.1%       767    74.0%        195      18.8%
       Difference Current to Cooper                 313          16      -0.9%      238      0.9%         59       0.0%


       Under this scenario, the White student percentages at Laplace Elementary go down and the

Black student percentages go up. The net effect is that the former Fifth Ward students would be

attending a school whose racial demographics were further away from the parish-wide

percentages than they have in their existing situation at Fifth Ward.

                              E. DESEGREGATION OR ENVIRONMENTAL?

       In his report, Mr. Cooper admits that the reassignment of Fifth Ward students to LaPlace,

(under either scenario), will increase the black percentage and decrease the white percentage of

the students at LaPlace Elementary. 19 So the question becomes: If the closure of Fifth Ward does

not further desegregate the District, then what rational is being used to justify the closure of the

school?

       1. Desegregation:

       The Cooper report does not provide any illustrative plan that would further desegregate the

District. Instead, Mr. Cooper focuses only on the consolidation of Fifth Ward and LaPlace. In




19
     Cooper June 6, 2024 Expert Witness Report, pg. 5.

                                                                                                                17
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actuality, there are at least two options that would provide a more practical approach if Fifth

Ward Elementary was closed. The map below shows the two illustrative plan options.

   MAP 2: Illustrative Plan 1 and 1A Reassignment Areas




   The area highlighted in yellow and labeled IP1 would reassign current Fifth Ward K-4/E. St.

John Preparatory 5-8 students living in the vicinity of the Belle Terre subdivision in LaPlace to

LaPlace Elementary. Utilizing that zone modification would affect fifty-eight (58) students, of

which ten (10) are White, thirty-eight (38) are Black, and ten (10) are Others. Those students are

in the same LaPlace community and are much closer to LaPlace Elementary than the majority of

the Fifth Ward and St. John Prep students.

   The area highlighted in green and labeled IP2 would reassign an additional 151 Fifth

Ward/E. St. John Preparatory students to LaPlace Elementary. Of those students, five (5) are




                                                                                                  18
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White, 188 are Black, and twenty-eight (28) are Other. Like IP1, these students live much closer

to LaPlace Elementary than Fifth Ward or E. St. John Prep.

   The following map shows the Illustrative Plan 1 zone configuration between LaPlace

Elementary and E. St. John Preparatory with the IP1 assignment. The current boundaries are

outlined in magenta.

   MAP 3: Illustrative Plan 1 Elementary/Middle School Attendance Zones




                                                                                              19
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   The demographics of this configuration are:

   TABLE 12: Illustrative Plan 1 Residential Student Demographics and Capacities

                                                                   St. John the Baptist Public School System
                                                    SY2022-2023 Illustrative Plan 1 Student Residential Demographics (PK-8)
                          School                           Grades       Total      White     % White     Black   % Black    Other  % Other Capacity Excess
    LaPlace Elementary School                             PK-8              741          65      8.8%        557   75.2%       119   16.1%     1250     509
    East St. John Preparatory Academy                     K-8               727          39      5.4%        587   80.7%       101   13.9%     1094     367
   October 1, 2022 Student Database provided by St. John PSB. Geocoding by GPDS, LLC. Adjusted for transfers and magnet program.




   The next map and table show the Illustrative Plan 1A configuration and demographics. This

plan incorporates both IP1 and IP2 areas in the LaPlace attendance zone.

   MAP 4: Illustrative Plan 1A Elementary/Middle School Attendance Zones




                                                                                                                                                  20
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   TABLE 13: Illustrative Plan 1A Residential Student Demographics and Capacities

                                                                     St. John the Baptist Public School System
                                                     SY2022-2023 Illustrative Plan 1A Student Residential Demographics (PK-8)
                          School                             Grades       Total      White     % White     Black   % Black    Other  % Other Capacity Excess
    LaPlace Elementary School                               PK-8              892          70      7.8%        675   75.7%       147   16.5%     1250     358
    East St. John Preparatory Academy                       K-8               583          35      6.0%        475   81.5%        73   12.5%     1094     511
    October 1, 2022 Student Database provided by St. John PSB. Geocoding by GPDS, LLC. Adjusted for transfers and magnet program.




   With one or both reassignments, the remaining K-4 Fifth Ward students would be relocated

to East St. John Preparatory Academy. Since that school is already the assigned school for 5th

through 8th grade, this would put the older and younger siblings together in one facility. The

anticipated enrollment counts would easily fit within the 1,094-student capacity of the East St.

John Preparatory facility. Either configuration would also fit within LaPlace Elementary’s

capacity.

   The two illustrative plans also comply with the parish-wide averages for Black or White

students. Table 14 shows the residential demographics and deviations for Illustrative Plan 1 and

Table 15 shows it for Illustrative Plan 1A.

   TABLE 14: Illustrative Plan 1 Residential Student Demographics and Deviations

                                                                    St. John the Baptist Public School System
                                             SY2022-2023 Illustrative Plan 1 Student Residential Demographics (PK-8) and Deviations
                                                                                                                                                     Black     White
                          School                               Grades        Total        White % White            Black   % Black   Other  % Other Deviation Deviation
    LaPlace Elementary School                                 PK-8               741           65  8.8%                557   75.2%      119   16.1%      1250       509
    East St. John Preparatory Academy                         K-8                727           39  5.4%                587   80.7%      101   13.9%      1094       367
    October 1, 2022 Student Database provided by St. John PSB. Geocoding by GPDS, LLC. Adjusted for transfers and magnet program.




   TABLE 15: Illustrative Plan 1A Residential Student Demographics and Deviations

                                                                    St. John the Baptist Public School System
                                            SY2022-2023 Illustrative Plan 1A Student Residential Demographics (PK-8) and Deviations
                                                                                                                                                     Black     White
                          School                               Grades        Total        White % White            Black   % Black   Other  % Other Deviation Deviation
    LaPlace Elementary School                                 PK-8               892           70  7.8%                675   75.7%      147   16.5%      3.8%     -1.2%
    East St. John Preparatory Academy                         K-8                583           35  6.0%                475   81.5%       73   12.5%      9.6%     -3.0%
    October 1, 2022 Student Database provided by St. John PSB. Geocoding by GPDS, LLC. Adjusted for transfers and magnet program.




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   Tables 16 and 17 show the net differences in the residential student demographics and counts

between the SY2022-23 current residential student counts and Illustrative Plans 1 and 1A.

   TABLE 16: Current SY2022-23 to Illustrative Plan 1 Net Changes

                                             St. John the Baptist Public School System
                      Illustrative Plan 1 Net SY2022-2023 Student Residential Counts and Changes by Race

                   School              Grades      Total      White % White         Black   % Black        Other  % Other
    LaPlace Elementary School         PK-8              683        55        8.1%       519   76.0%           109   16.0%
    East St. John Preparatory Academy 5-8               225        15        6.7%       179   79.6%            31   13.8%
                                                  Differences- Current to IP1
    LaPlace Elementary School                            58        10        0.7%       38     -0.8%          10     0.1%
    East St. John Preparatory Academy                   502        24       -1.3%      408      1.2%          70     0.1%


   TABLE 17: Current SY2022-23 to Illustrative Plan 1A Net Changes

                                               St. John the Baptist Public School System
                       Illustrative Plan 1A Net SY2022-2023 Student Residential Counts and Changes by Race
                    School                  Grades       Total      White % White        Black   % Black  Other  % Other
    LaPlace Elementary School              PK-8              683         55      8.1%        519   76.0%     109   16.0%
    East St. John Preparatory Academy 5-8                    225         15      6.7%        179   79.6%      31   13.8%
                                                      Differences- Current to IP1A
    LaPlace Elementary School                                209         15     -0.2%        156    -0.3%     38    0.5%
    East St. John Preparatory Academy                        358         20     -0.7%        296     1.9%     42   -1.3%


   For IP1, the percentage of White students have a slight increase at LaPlace Elementary with a

corresponding slight decrease in the Black student population. For E. St. John Preparatory, the

White students have a slight decrease and the Black students a slight increase. These changes

correlate to the students being reassigned from Fifth Ward/E. St. John Prep to LaPlace

Elementary.

   The IP1A plan reassigns more students from Fifth Ward/E. St. John Prep to LaPlace

Elementary. The net changes in residential student counts from SY2022-23 to IP1A indicates a

slight decrease in White and Black students. Other ethnicities have a slight increase. For E. St.

John Prep, IP1A has a slight decrease in White students and a slight increase in Black students.


                                                                                                                   22
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   If a decision is made to close Fifth Ward Elementary, minor adjustments in the boundaries of

either illustrative plan can fine tune the changes. But the point being made here is that

attendance zone boundary adjustments can reassign Fifth Ward students to both schools while

staying well within the capacities of the schools. The plans have far fewer students being

disrupted, i.e., a substantial number of students staying within the E. St. John Prep feeder zone as

they currently are. They would now attend E. St. John Prep with their older siblings instead of

Fifth Ward.

   2. Environmental:

   It has been demonstrated that there are practical options available if Fifth Ward Elementary is

closed. The absence of any suggested plan from Mr. Cooper and the Plaintiffs can reasonably

conclude that the Plaintiffs’ interest in closing Fifth Ward is based on environmental issues

rather than the desegregation of the District’s schools.

   To justify closing Fifth Ward Elementary, the bulk of Mr. Cooper’s report addresses the

proximity of the Denka plant to Fifth Ward Elementary and Fifth Ward student residences. Mr.

Cooper’s report heavily emphasizes locations, distances, and racial demographics as it relates to

the Denka plant alone. None of the analyses in the Cooper report addresses any concerns with

the plethora of other chemical plants located in St. John the Baptist Parish that lie in close

proximity to other schools. Only Denka.

   Mr. Cooper and the Plaintiffs also fail to address the proximity of other students in and

around the Denka plant. If the intent was to just reassign Fifth Ward K-4 students to LaPlace,

then you are left with a sizable number of E. St. John Prep students living in the same proximity

to the Denka plant. The Plaintiffs and Mr. Cooper also do not address the students assigned to E.

St. John High School that also live in the same Fifth Ward/E. St. John Prep attendance zone. The

                                                                                                  23
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absence of addressing those students by the Plaintiffs or Mr. Cooper assumes that the Denka

plant is not an issue for them regarding those students.

   In addition to the above, the neighboring Emily C. Watkins Elementary has forty-two (42)

students on the west side of the zone (west of Birch and Water Plant roads) that are 0.8 miles

from the Denka plant. Mr. Cooper does not address the proximity of those students to the east

side of the Denka plant or their reassignment in his report either.

   Instead, for some reason, Mr. Cooper and the Plaintiffs only fixate on Fifth Ward Elementary

and justify their recommendation for closure due to the proximity of the Denka plant. If the

environmental conditions around the Denka plan were an issue of such gravity that Fifth Ward

had to be closed, then Mr. Cooper and the Plaintiffs should have expanded their concerns to

other students in similar proximity.

                             V. School Board Discussions and Options

   It was my understanding that the litigation in this case concerns the St. John the Baptist

Public Schools complying with the various Green factors in desegregating their schools. One of

those Green factors was Student Assignment.

   When the Plaintiffs raised the issue of closing Fifth Ward Elementary, the Board wanted to

review and discuss various options should Fifth Ward Elementary be closed. I worked up four

(4) plans that reassigned Fifth Ward students to various schools and adjusted other schools as

needed. The Board elected to move forward with one plan as a proposed Consolidated

Elementary School Plan.

   That plan was presented at three public hearings, as suggested by the Plaintiffs. I was able to

attend the first meeting held at Fifth Ward Elementary. The counsel for the Board attended all


                                                                                                 24
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three meetings. Based on my observation and those of the Board’s counsel, the opposition to the

closure of Fifth Ward voiced by parents and faculty at those public hearings was near

unanimous.

     The concerns of the parents affected by the closure of Fifth Ward were for the educational

quality of their children and retaining Fifth Ward, not environmental issues with Denka. 20 Many

of them pointed out that they lived in the neighborhood near the Denka facility and would

continue to do so no matter where their children attended school, so they wanted them to stay at

Fifth Ward. Frankly, if the comments at the public hearings were any indication, there are far

more concerns among attendees with the closure of Fifth Ward Elementary than with the Denka

plant.

     After receiving feedback from the public hearings, the Board then requested that staff

develop options for the closure of Fifth Ward. Those options were discussed at their April 25,

2024, workshop. 21 The staff-generated Option C referred to in Mr. Cooper’s report was

discussed at that workshop.

     1. Comprehensive Plan for the School District

     Subsequently, at the May 9th School Board meeting, the Board voted to have a

Comprehensive Plan developed for all school sites moving forward. 22 Counsel for the Board

contacted me to assist in putting together a comprehensive plan that would do the following:



20
   Environmental issues with Denka have been the subject of multi-year litigation between the Environmental
Protection Agency, other environmental groups, and Denka. The latest development was reported in an article by
Mark Scheleifstein at NOLA.com. That article reported on the recent decision of the U.S. Court of Appeals for the
D.C. Circuit where the Court upheld the EPA rule requiring Denka “to dramatically limit the release of
chloroprene…within 90 days or shut down its LaPlace plant.” https://www.nola.com/news/environment/court-
refuses-to-block-rule-on-emissions-at-louisiana-plant/article_a9f52f70-34c3-11ef-ad36-8f24df23dd44.html
21
   Exhibit 26, Case 2-90-cv-01669-JCZ Document 220-29, Filed 06/12/24.
22
   Exhibit 28, Case 2-90-cv-01669-JCZ Document 220-31, Filed 06/12/24.

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       a. Develop a five-year student projection report that will provide grade-level anticipated

           student counts for each school.

       b. Review and evaluate the use of current school facilities and capacities.

       c. Develop student assignment plan options that would further desegregate the school

           district to the extent practicable while making more efficient use of the current

           facilities.

       d. Develop recommendations for school repurposing, grade restructuring, or academic

           programming.

   Once the official SY2024-2025 student data for October 1, 2024, is completed by District

staff and provided to me, I should be able to complete the projection study before the end of the

year. From there, those findings would be incorporated into the comprehensive plan developed

by myself, staff, and others. The estimated time for a formal Board presentation of the

comprehensive plan would be late February or March 2025. After incorporating any pertinent

suggestions, a plan of implementation would be developed in time for the 2025-26 school year.

   2. Recommendation

   Since reassigning students, faculty, and staff is always an emotional and logistical challenge,

it is best to make any changes in a comprehensive manner. Piecemealing these types of changes

brings about more community and faculty upheavals, which can be minimized or avoided when

done at one time.

   As evidenced by the two Illustrative Plans discussed in this report, this is an appropriate time

for the School Board to review the District globally. This demographer strongly recommends

that the St. John the Baptist Parish School system be allowed the time to have a comprehensive

                                                                                                 26
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study completed and a plan of implementation approved by the Board in the Spring of 2025.

This will ensure that the Court has the most up-to-date demographics and a long-term plan of

action for the District in its deliberations. 23

                                                 VI. CONCLUSIONS

       Summary:

       The Plaintiffs’ demographer, Mr. William Cooper, proposes a plan that reassigns the Fifth

Ward Elementary students to LaPlace Elementary. If the Fifth Ward students are assigned to

LaPlace Elementary for grades K-8, then this would effectively close East St. John Preparatory

Academy also. The total number of students assigned to LaPlace Elementary would exceed the

capacity of the school.

       If the intent was to split the Fifth Ward students from the LaPlace Elementary student body

after 4th grade, then those students would continue to attend East St. John Preparatory Academy

for grades 5-8 as they do now. The capacity of LaPlace Elementary can accommodate Fifth

Ward K-4 students. This scenario has the negative affect of separating the Fifth Ward students at

5th grade from their school mates with whom they formed a friendship over the prior five or six

years.

       Regardless of which scenario is used, Mr. Cooper’s plan does not address the desegregation

of the District. In reality, as admitted in his report, the changes in the student demographics are

minimal, at best.

       From a student assignment standpoint, a review of the current enrollment demographics for

SY2023-2024 shows that both the White and Black student percentages at the applicable schools

were within a +/-15% deviation from either White or Black District-wide percentages with the


23
     Recognizing that the implementation plan will require Court approval.

                                                                                                   27
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exception of Emily C. Watkins Elementary. A snapshot from SY2006-2007 indicates that all the

applicable schools were within a +/-20% deviation for White and Black students. Using the

stricter +/-15% deviation, only LaPlace Elementary was barely outside that range.

   When applying SY2022-23 residential student demographics, all schools were within a +/-

15% deviation when applying either the White or Black parish-wide ratios. John L. Ory

Communications Magnet was the only school outside the range due to it being a controlled

enrollment school utilizing a 50/50 Black to White ratio.

   The Plaintiffs, via Mr. Cooper’s report, have not offered any illustrative plan that would

close Fifth Ward Elementary and further desegregate the District or minimize the number of

students affected if Fifth Ward Elementary was closed. Two illustrative plans have been

provided in this report to show that the attendance boundaries can be modified, and students

reassigned to LaPlace Elementary that would fit within existing capacities and District-wide

White and Black ratios.

   Opinion:

   In my opinion, the closure of Fifth Ward is being justified by the Plaintiffs and Mr. Cooper

based on an environmental concern and not on a desegregation concern. Mr. Cooper reserves the

vast portion of his report on closing Fifth Ward Elementary and reassigning those students only

because of the proximity of the Denka plant to the school.

   It should also be remembered that the majority of the Fifth Ward students live in close

proximity to the Denka facility so sending them across the parish for 7 hours on each day that

school is open does not change the fact that they return to that neighborhood for the other 17

hours of each school day and all 24 hours of each day that is not a school day.




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    Environmental issues related to the Denka plant are being properly addressed through other

litigation with the EPA and others environmental groups. There is no need to conflate

desegregation concerns with the school district with environmental concerns litigated by other

parties.

    Recommendation:

    The School Board has reviewed several attendance zone options that would include the

closure of Fifth Ward. A consolidation plan was presented to the public at three hearings. The

overwhelming feedback at those meetings was in opposition to the closure of Fifth Ward.

    In light of the feedback from the public hearings, the Board has authorized the development

of a comprehensive plan that incorporates five-year student count projections, facility utilization,

staff/faculty assignments, and academic programming. My recommendation, as the

demographer for the School District, is for the Court to allow the necessary time for that plan to

be completed. The plan of implementation can then be presented at the appropriate time for the

Court’s consideration.




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                                        VI. CERTIFICATION

   The opinions expressed above are true and based on the facts and criteria available to this

expert witness as of the time of this report. I reserve the right to amend this report if new

information becomes available that would have an effect on my findings and opinions.

Documents and information relied upon have been footnoted in this report.

   Signed this 19th day of July 2024.



 s/s ___________________________

       Michael C. Hefner, Esq.
       Expert Witness for the
       St. John the Baptist Parish School Board




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                      APPENDIX




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                                          Appendix
                                          Exhibit 1
                                 Expert Witness Qualifications
Background:

       Michael Charles Hefner serves as the Expert Witness in Demography. He is the owner
and manager of Geographic Planning and Demographic Services, LLC. The company
uses Geographic Information Systems (GIS) to display and analyze any kind of data that
has a geographic reference. The primary work of GPDS has been in the field of demographics,
including census data, redistricting, marketing, and public-school student assignment
demographics. Hefner has extensive experience working with the Census Bureau’s TIGERline
files, dating back to 1990.

Expert Witness Work:
      Hefner has been certified as an expert witness in demographics in the United States
District Court, Western District of Louisiana in the case Barney Deshotels v. Evangeline Parish
School Board (unpublished opinion) on or about May 1995. The Evangeline Parish School
Board hired Hefner to defend the Board against a suit brought by Mr. Deshotels under Section 2
of the Voting Rights Act. The suit was successfully defended.
       For the 2000 Census, Hefner was retained by the Attorney General of the State of
Louisiana and the Department of Elections to develop alternative plans and provide expert
testimony in the case of City of Baker School Board v. State of Louisiana, (unpublished) on or
about March 2003. The case was heard in the 19th Judicial Circuit Court and Hefner was
accepted by the Court as a demographic expert and served as the sole witness presented by the
State. That case was ruled in favor of the State at both the district court and the Appellate Court.
       Hefner is currently certified as an Expert Witness in reapportionment and demography
for the U.S. District Court Western District of Louisiana, the Middle District of Louisiana, and
the 15th and 19th Circuit Courts in Louisiana.
       Hefner has served in the capacity as an expert witness for the following school systems in
their school desegregation cases:

       Evangeline Parish School Board – Completed. Unitary

       St. Landry Parish School Board – Completed. Unitary


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         Bossier Parish School Board - Current

         Vermilion Parish School Board – Completed Student Assignment Plan May 2009.

         Ouachita Parish School Board – Completed 2012. Unitary

         Monroe City School Board – Completed Student Assignment Plan 2012

         Jackson Parish School Board – Current

         DeSoto Parish School Board – Current

         Richland Parish School Board – Current

         Concordia Parish School Board – Current

         Lincoln Parish School Board – Completed Student Assignment Plan 2012

         Union Parish School Board – Completed Student Assignment Plan 2012

         St. Martin Parish School Board- Current

         St. Mary Parish School Board – Current

         St. John the Baptist Parish School Board - Current

         In several of these cases, testimony was presented to the Court. In a number of the cases

Hefner worked on resulted in a joint motion being filed with the Court with his plans being the

centerpiece of the filing.

         Hefner served as an expert witness for the United States Department of

Justice on two school desegregation cases. Hefner assisted the Department of Justice

with the Avoyelles Parish School Board and Morehouse Parish School Board desegregation

cases.

Education

         Hefner is a 1978 graduate of the University of Southwestern Louisiana having earned a

Bachelor’s degree in business administration. Hefner completed his legal education



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and received his Juris Doctorate in law in January 2008. He was admitted to the California Bar

in October 2008. Hefner’s California Bar Number is 257492.

Recent Expert Witness Testimony

      Within the past three years, Hefner has testified in Court as an expert witness in
demographics for the following cases:

       Phillip Callais, et. al., v State of Louisiana, C.A. No. 3:24—cv-001122.

       Theresa D. Thomas, et. al., v. St. Martin Parish School Board, C.A. No. 6:65-11314

       David B. Means, et. al., v DeSoto Parish, et. al., C.A. No. 5:23-cv-00669

Compensation

      The rate for expert witness services to the St. John the Baptist Parish School Board is
$295/hour.




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July 2024
                                               Exhibit 2
                                       Michael C. Hefner
 Vitae of Reapportionment, Economic, & Demographic Work Experience

 1.0     Qualifications
 1.1     Demographic, Reapportionment and Economic Development Experience
         Mike Hefner is the Chief Demographer and owner of Geographic Planning and
 Demographic Services, LLC. He has extensive experience working with specialized
 demographics, census counts from the Census Bureau and use of the Bureau’s TIGER Line Files,
 dating back to 1990. These computer-generated map files are used to enumerate the Census as
 well as serving as the base map for reapportionments and other demographic uses.

         Hefner served as the Economic Development Manager and later became the Assistant
 Director of the Evangeline Economic and Planning District from 1990-1995. Among other
 things, EEPD was the Census Data Center Affiliate for District 4. During that time, he served as
 the Census Bureau’s liaison for the 8 Parish Acadiana area.

         He and staff from the Imperial Calcasieu Planning District were the first in the State to
 use the Census Bureau’s TIGER Line Files and related census data on PC-based computers. He
 was also among the first in the State to fully computerize the functions of reapportioning based
 on PCs. During this time, he also provided extensive assistance to other Planning and
 Development Districts statewide in use of the TIGER Line Files, the 1990 Census data, and
 reapportionment through the use of PC computers.

         Hefner also provides demographic services under contract to the newly renamed
 Acadiana Regional Development District. His experience, combined with his familiarity of the
 service area of the District, provides the district with a comprehensive source of demographic
 and economic data.

        From 1995 to 1999, Hefner served as the Executive Director of the Enterprise Center of
 Louisiana. In that capacity, he provided hundreds of hours of assistance to entrepreneurs starting
 or expanding a business. In addition, he provided economic development assistance to
 municipalities and parish entities throughout the eight parish Acadiana Area. He also served as
 President of the Louisiana Business Incubator Association.

         Hefner also served on the Lafayette Parish School Board, having first been appointed to
 the Board in 1986 to fill the unexpired term of his father-in-law, E. Lloyd Faulk. He was elected
 to the Board in 1990 and re-elected in the elections of 1994, 1998, 2002 and 2006. He has
 served in the capacity of President and Vice President of the Board. Hefner chose not to run for
 re-election in 2010 due to anticipated schedule conflicts arising from 2010 redistricting projects.

 1.2     Legal Qualifications
         In connection with the 1990 Census, Hefner was certified as an expert witness in the
 United States District Court Western District of Louisiana and testified when the Evangeline
 Parish School Board defended a Section 2 suit brought against their reapportionment plan by a
 citizen of the parish. The citizen filed suit against a Parish School Board on the plan after they

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had adopted and received Justice Department Section 5 approval. The plan was successfully
defended.

        For the 2000 Census, Hefner was retained by the Attorney General of the State of
Louisiana and the Department of Elections to develop alternative plans and provide expert
testimony in the case of City of Baker School Board vs. State of Louisiana. The case was heard
in the 19th Judicial Circuit Court and Hefner was the sole witness presented by the State. That
case was ruled in favor of the State at both the district court and the Appellate Court.

       After the 2000 census redistricting the redistricting plan for St. Landry Parish School
Board was challenged under Section 2 of the Voting Rights Act. Hefner served as the expert
witness for the defendants. The case was resolved among the parties based on some suggested
modifications by Hefner.

        Hefner currently serves as an expert witness in demography and reapportionment for the
Louisiana Department of Justice. Recent cases involve the method of election for the five
judicial seats in the 32nd JDC in Terrebonne Parish and in the 40th JDC. Hefner’s earlier work in
the Terrebonne 32nd JDC case on behalf of the Louisiana Secretary of State played a large part in
successfully dismissing the Secretary as a defendant in the case. Hefner is also providing expert
witness services in a case concerning the minority representation in the current Louisiana
Congressional Districts.

        Hefner is currently certified as an Expert Witness in reapportionment and demography
for the U.S. District Court Western District of Louisiana, the Middle District of Louisiana, and
the 15th and 19th District Courts in Louisiana.

        Hefner also provided expert witness services in the area of demographics for St. Bernard
Parish (Defendant) as well as for the Burlington Northern and Santa Fe litigation (Defendant).
The BNSF litigation involved demographics of the population using a plume analysis. The St.
Bernard Parish case involved determining the number of persons and households in the
collection area using a variety of sources.

Hefner has also provided expert witness reports and deposition testimony in the case of Ricky
Bush vs. Clean Harbors Colfax, LLC. The scope of services was to provide testimony on the
demographics of the area affected by the disposition of military munitions at the Clean Harbors
site north of Colfax, LA.

       Hefner has never been rejected as an expert witness in any case. His qualifications have
survived several Daubert challenges.

       Hefner completed his legal education and received his Juris Doctorate in law in January
2008. He successfully passed the California Bar exam and is a member in good standing with
the California Bar.




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2.0   Past Reapportionment, Economic Development, Demographic &
Mediation/Facilitation Work
2.1    Reapportionment, Demography & Economic Development
       After the 1990 Census, Hefner provided Technical Assistance Services to some 22
governmental entities for reapportionment. In addition, some half dozen was performed directly
whereby the full scope of the reapportionment process was conducted. Much of the Technical
Assistance comprised of drawing up a number of possible plans with the associated data for
consultants and governmental staff working on reapportionment or providing detailed
demographic data at the precinct and/or census block level.

        With the release of the 2000 Census, Hefner had been primarily involved in performing
analyzing population trends in connection with the reapportionment services to over 41
jurisdictions throughout Louisiana.

        For the 2010 Census, Hefner successfully completed redistricting plans for over 73
jurisdictions. Hefner has also performed a number of market analyses for private companies and
site location analysts.

      Hefner served on a legislative committee charged with reviewing redistricting statutes.
He was appointed by the Louisiana Secretary of State to represent demographers.

        Additionally, population census counts, updates, and projections have been conducted for
several municipal governments, water, fire, and wastewater districts. The projections have
withstood state reviews and court scrutiny as well as U.S. Department of Justice review where
applicable.

        During his tenure at the Evangeline Economic and Planning District, Hefner provided
numerous economic and site location analyses for major corporations looking to locate or expand
in south central Louisiana. Nearly every municipality, water district, wastewater district, and
Parish government in the 8 parish Acadiana area was the recipient of one or more demographic
studies performed at their request.

        In addition, Hefner performed Economic Needs Assessments for each of the 8 Parishes in
the District annually and developed reports of the findings to the U.S. Department of Commerce.
Many of these assessments were used to help secure millions of dollars in infrastructure grants.

2.2     School Demographic Work
        In the highly specialized area of school demographics, Hefner has provided demographic
services to the Lafayette Parish School Board, the St. Landry Parish School Board, the Pointe
Coupee Parish School Board, the St. John the Baptist School Board, the Vermilion Parish School
Board, the Bossier Parish School Board, the E. Feliciana Parish School Board, the Evangeline
Parish School Board, the Union Parish School Board, the Ouachita Parish School Board, Monroe
City School Board, the W. Baton Rouge Parish School Board, the DeSoto Parish School Board,
the Jackson Parish School Board, the Lincoln Parish School Board, the St. Martin Parish School
Board, the St. Mary Parish School Board, the Concordia Parish School Board, and the U.S.
Department of Justice. For the Lafayette, Bossier, St. Martin, St. Mary, E. Feliciana, Vermilion,

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Evangeline, Union, Ouachita, Monroe City, DeSoto, W. Baton Rouge Parish School Boards as
well as for the U.S. Department of Justice, much of the demographic work has concentrated on
general population trends, student demographics, analyzing, and/or constructing school
attendance zones in connection with their respective desegregation cases.

        Efforts in St. Landry, Concordia, Evangeline, Monroe City, Union, DeSoto, Ouachita, St.
John the Baptist, St. Martin, St. Mary, and Bossier have centered on modification of their school
attendance zones as they relate to their school facilities in order to meet the mandates of their
respective desegregation litigation. Pointe Coupee was a combined project of consolidating
schools, redrawing attendance zones, and a complete redesign of their bus transportation system
and a complete audit of their contract bus routes. The U.S. Department of Justice project
involved the student assignment plan for the Avoyelles Parish School Board and Morehouse
Parish School Board.

      To date the school districts in Ouachita, Evangeline, St. Landry, Avoyelles, and
Morehouse Parishes have received Unitary Status based on the student assignment work
conducted by Hefner. Union has recently received Unitary Status.

        The use of computer GIS software has been extensively used to help with these efforts
and provides the maximum opportunity to rapidly assess a number of different school district
configurations or to analyze existing zones. Hefner is one of the few, if not the only one in the
State currently using specialized GIS software for these educational-related activities.

2.3     Mediation/Facilitation
        Hefner has extensive mediation and facilitation experience. For the Federal courts, he
was one of the representatives from the School Board chosen to facilitate an agreement regarding
the District’s dress code and the exercise of religious customs of students attending Lafayette
Parish Public Schools. A successful agreement was reached thereby avoiding a costly court
hearing and trial.

         Hefner also facilitated the Consent Decree response in the Alfreda Trahan v. Lafayette
Parish School Board desegregation case. After the court ruling of May 19, 2002, Judge Richard
Haik ordered the Board to develop a new desegregation plan within 6 weeks. Hefner was chosen
by the Board President to facilitate the development of that plan. Street wisdom at that time said
it would take over a year for the Board to develop a plan and one could never be developed that
all parties would agree to. By bringing all parties together from the beginning, a plan was
developed within 5 weeks that all parties to the desegregation suit signed off on and the plan was
later accepted by Judge Haik.

        Hefner also exercised mediation and facilitation skills during many of the
reapportionment projects undertaken during the past two censuses. Competing interests often
came to the surface during many of the reapportionment discussions, which had to be
successfully mediated in order to reach agreement on a plan that would meet community and
legal criteria. Many reapportionment projects conducted after the 2000 and 2010 censuses
required mediation among elected officials as well as among some community leadership. All



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reapportionment projects conducted by Hefner received Section 5 approval from the U.S.
Department of Justice on the first submission prior to the Shelby ruling.

2.4 Government Demographic, GIS, Reapportionment Projects, Expert Witness Testimony:
Acadia Parish Police Jury (reapportionment 2000, 2010, 2020 precinct mergers, 2021
prospective precincts).
Acadia Parish School Board (reapportionment 2000, 2010, 2020).
Acadia Parish Police Jury (parish wide GIS project).
Allen Parish Police Jury (reapportionment 2020).
Allen Parish School Board (reapportionment 2020).
Ascension Parish School Board (student attendance boundaries, school site selection,
reapportionment 2020)
Ascension Parish Council (reapportionment 2020)
Avoyelles Parish Police Jury (reapportionment 2020).
Bossier Parish School Board (new school zones, student pop projections, school site planning).
Bossier Parish School Board (grade realignments/school zone modification project).
Bossier Parish School Board (school desegregation expert witness services).
Bossier Parish School Board (reapportionment 2010, 2020).
Bossier Parish Police Jury (reapportionment 2020).
Cameron Parish School Board (Reapportionment 2010).
Central Community School System (5/10 Year student projection report, reapportionment 2020)
DeSoto Parish Police Jury (Precinct mergers and consolidations, 2021 prospective precincts,
2020 redistricting, 2023 precinct mergers).
Concordia Parish School Board (desegregation-student assignment, transportation).
DeSoto Parish School Board (desegregation plan review, student projections, plan modification,
USDoJ plan review, expert witness services, 2020 redistricting).
East Baton Rouge Parish School Board (Five-year student projection reports 2017, 2018,
redistricting 2020).
East Baton Rouge Metro Council (redistricting 2020).
Evangeline Parish Police Jury (reapportionment 2000, 2010, 2020, Census update, precinct
mergers).
Evangeline Parish School Board (reapportionment 1990, 2000, 2010, 2020).
Evangeline Parish School Board (School Consolidations, student projections, student assignment
plans, and expert witness services).
E. Feliciana Parish Police Jury (Precinct realignments, 2021 Prospective Precincts, 2020
redistricting).
E. Feliciana Parish School Board (change in board composition, 12-year student population
projections, 2020 redistricting).
Lafayette Parish School Board/Consolidated Council (TA) (reapportionment 2000, 2010, 2020).
Lafayette Parish School Board (30-year study of Parish demographic shifts by race,
comprehensive student assignment plan, 2017 five-year student projection report with 2023
update).
Lafayette Consolidate Government (City of Lafayette & Lafayette Parish council
reapportionments for charter revision, expert witness testimony).
Livingston Parish Police Jury (precinct realignments).
Iberia Parish HRC Council (reapportionment 1990, 2000, 2010, 2020, precinct mergers, 2021

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prospective precincts).
Iberia Parish School Board (reapportionment 2000, 2010, 2020).
Iberia Parish School Board (student assignment plan 2018, 2019, 2023).
Iberia Parish HRC Council (Membership reduction plans).
Iberville Parish Police Jury (precinct realignments).
Jackson Parish School Board (student assignment plans, basic student projection report, expert
witness services).
Madison Parish (Precinct realignments).
Monroe City School Board (Student projections and Zone Alignments 2010-2012, 2020, 2022).
Ouachita Parish School Board (Unitary Status Green factor review and expert witness services).
Plaquemine Parish Police Jury (precinct realignments).
Pointe Coupee Parish Police Jury (election districts for new Home Rule Charter implementation,
precinct mergers, 2021 prospective precincts, 2020 redistricting).
Pointe Coupee Parish School Board (reapportionment 2000, 2010, 2020).
Pointe Coupee Parish School Board (transportation routing/school consolidation/zone boundary
changes, bus audits).
Richland Parish School Board (student assignment plans).
St. Bernard Parish Government (residential housing study)
St. John the Baptist School Board (5/10 year student census projections, expert witness services
in student assignments, zone modifications).
St. Landry Parish Police Jury (reapportionment 2000, 2010 for new Home Rule Charter, 2020
redistricting).
St. Landry Parish Council (precinct realignments, Census LUCA updates, precinct mergers, 2021
prospective precincts, 2023 precinct mergers).
St. Landry Parish School Board (reapportionment 2000, 2010, 2020).
St. Landry Parish School Board (student assignment plans, bus transportation plan, student
population projection report, expert witness services).
St. James Parish School Board (student assignment, school attendance boundaries, 5-Year
projection report, reapportionment 2010, 2020).
St. James Parish Council (Housing study).
St. Martin Parish HRC Council (reapportionment 2000, 2010, 2020).
St. Martin Parish School Board (reapportionment 2000, 2010, 2020).
St. Martin Parish School Board (2016-current student assignment plans, expert witness services).
St. Martin Parish HRC Government (parish wide GIS project, Census LUCA updates).
St. Martin Parish Government (precinct realignments and mergers, 2022 precincts).
St. Mary Parish HRC Council (reapportionment 2000 and 2010).
St. Mary Parish HRC Council (precinct realignments).
St. Mary Parish School Board (2010, 2020 reapportionment, student assignment plans, expert
witness services).




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State of Louisiana-Secretary of State (alternative reapportionment plans, demographic and
reapportionment expert witness services).
State of Louisiana-Louisiana Department of Justice (32nd JDC, 40th JDC demographic and
reapportionment expert witness services.)
State of Louisiana-Louisiana Department of Justice (2022 Congressional Districts
reapportionment expert witness services.)
Tangipahoa Parish School Board (5/10 Year Student Projection Report).
City of Scott (reapportionment 1990, 2000, 2010, 2020 Census LUCA update).
City of Eunice (reapportionment 1990, 2000, 2010, 2020).
City of Broussard (reapportionment 2000, 2010, 2020).
City of Broussard (50-year population study).
City of Breaux Bridge (reapportionment 2010, 2020).
City of Crowley (reapportionment 1990, 2000, 2010, 2020).
City of Donaldsonville (reapportionment 2020).
City of Marksville (reapportionment 2010, 2020).
City of Rayne (reapportionment 2000, 2010, 2020).
City of Church Point (reapportionment 2000, 2010, 2020, municipal boundary corrections).
City of Opelousas (reapportionment 2010, 2020).
City of Central (reapportionment 2020).
City of Ville Platte (reapportionment 2010, 2020).
City of Zachary (2010, 2020 reapportionment).
Town of Sunset (reapportionment 2000, 2010, 2020).
Town of Mamou (reapportionment 2000, 2010, 2020).
Town of Washington (reapportionment 2000, 2010, 2020).
Town of Bunkie (reapportionment 2000, 2010, 2020).
Town of Cottonport (reapportionment 2000, 2010, 2020).
Town of Kinder (reapportionment 2000, 2010, 2020).
Town of Tallulah (reapportionment 2000).
Town of Springhill (reapportionment 2010, 2020).
Town of St. Francisville (reapportionment 2020).
Tucson Independent School District No. 1, Tucson AZ (Desegregation Initiatives and Review).
City of Youngsville (census update 2004, 2014, reclassification as a City in 2004, 30-Year
Demographic Projection).
Union Parish School Board (student assignment plan for Union Parish Deseg case, expert
witness services).
U.S. Department of Justice (student assignment plan for Avoyelles Parish Schools, expert
witness services).
U.S. Department of Justice (student assignment plan review for Morehouse Parish, expert
witness services).
Vermilion Parish School Board (school rezoning, parish-wide street and address updates, student
population projection report, 2020).
Vermilion Parish School Board (reapportionment 2000, 2010, 2020).
Webster Parish School Board (school attendance plan, expert witness services).
W. Feliciana Parish HRC Council (Precinct mergers, 2021 prospective precincts, redistricting
2020).
W. Feliciana Parish Police Jury (redistricting plan for Home Rule Charter compliance).

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W. Feliciana Parish School Board (Twelve-year student projection report 2018, Report Update
2019).
W. Baton Rouge Parish School Board (5-year student projection, redistricting 2010, 2020)
Winona-Montgomery Consolidated School District (School desegregation-Transportation bus
route Martzell, Bickford, & Centola, re: Ricky Bush vs. Clean Harbors Colfax, LLC, (2023
expert witness services in demographics.)
Ricky Bush v Clean Harbors, LLC (testimony on demographics of area affected)
Phillip Calais, et. al., v. State of Louisiana, (Congressional Election Map challenge)
David B. Means, et. al., v DeSoto Parish, et. al., (Challenge to Police Jury adopted election map)

1990 Census Reapportionments:
City of Crowley
City of Scott
City of Eunice
Evangeline Parish School Board
Iberia Parish Council (TA)
Several Private Consultants (primarily city engineers doing redistricting plans)
Vermilion Parish Police Jury (TA)
Lafayette Parish School Board (TA)
Town of Ville Platte (TA)
City of Breaux Bridge (TA)
Town of St. Martinville (TA)

3.0       Educational Background
      •   Graduated from Concord Law School earning a Juris Doctorate in law. Successfully
          passed the February 2008 administration of the California Bar exam. Member of the
          California Bar, Bar #257492.
      •   Commissioned as a Louisiana Notary Public, May 2015.
      •   Completed Public Service course sessions at the Leadership Institute, Greensboro, NC
          March 1993
      •   Graduated from the Basic Economic Development Course, University of Kansas, 1992
      •   Completed Leadership Lafayette, Class II, 1987
      •   Graduated from University of Southwestern Louisiana 1978, Degree in Business
          Administration, Marketing
      •   Graduated from Our Lady of Fatima High School, 1974

4.0       Community Leadership
      •   Member of the Lafayette Parish School Board, District 5, 1986, 1990 to 2010. Did not
          seek reelection due to meeting conflicts anticipated with redistricting.
      •   Past Chairman and director on the Board of Directors for Goodwill Industries.
      •   Director CADENCE non-profit board.
      •   Past Chairman of the Lafayette Parish Industrial Development Board
      •   Past Chairman of the Louisiana Business Incubation Association
      •   Past Chairman Citizens for Public Education
      •   One of the charter founders of the Lafayette Public Education Foundation, past member.
      •   Certified Court Appointed Special Advocate (CASA).
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5.0    Contact Information:

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